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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ROBERT T. BROCKMAN,                       )
           Plaintiff,                     )
                                          )      Case No. 22-cv-00202
v.                                        )
                                          )
UNITED STATES OF AMERICA                  )
          Defendant.                      )

                   NOTICE OF CORRECTION TO THE COURT

       The United States files this notice to the Court to correct a mistake in the United

States’ Response (Dkt. 21), and states as follows:

       Subsequent to filing the United States Response to the Plaintiff’s Motion for

Determination (Dkt. 10) relating to the IRS jeopardy assessment and levy, the United

States determined that its Response contained an incorrect date and a related statement.

       The chart on page twenty-three of the United States’ Response summarized

several email communications between Evatt Tamine and Robert Brockman. The chart

was based on the emails in Gov. Ex. A-61, Dkt. #23 which at pages 5-8, shows email

dates beginning on March 8, 2013 and ending on April 19, 2013, rather than ending on

April 19, 2021 as mistakenly stated in the chart on page 23 of the Response. This

incorrect date in the chart also made the statement that “[s]ome of these communications

took place in April of 2020, after Brockman was aware that he was under investigation”

partially incorrect. Brockman was aware of the investigation in April of 2020, but

particular emails being discussed in that part of the Response to show his offshore

structure and prior use of nominees did not take place in April of 2020.
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       The United States apologizes for any confusion. The mistake was an unintentional

error that arose in transferring the dates from the emails to the chart, and was not

intended to mislead the Court. The correct dates were in the supporting exhibit, and the

United States has moved quickly to correct the mistake.



Dated: February 3, 2022
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                                           ATTORNEYS FOR UNITED STATES
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                            CERTIFICATE OF SERVICE

       I certify that on February 3, 2022, I filed the foregoing document by electronic

means on all parties who have entered an appearance through the Court’s ECF system,

including the following:

Jason S. Varnado
Julia N. Camp
Kathryn Keneally
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